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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    SOUTHERN DIVISION


   ELISABETH GULEMBO,

           Plaintiff,
                                                            Case No. 1:24-cv-796
   v.
                                                            HONORABLE PAUL L. MALONEY
   COMMISSIONER OF SOCIAL SECURITY,

         Defendant.
   ______________________________________/


                   ORDER ADOPTING REPORT AND RECOMMENDATION

          Plaintiff’s counsel filed a motion for fees under the Equal Access to Justice Act (“EAJA”).

  The matter was referred to the Magistrate Judge, who issued a Report and Recommendation on

  January 31, 2025, recommending that this Court grant the motion.                 The Report and

  Recommendation was duly served on the parties. No objections have been filed. See 28 U.S.C. §

  636(b)(1). Therefore,

          IT IS HEREBY ORDERED that the Report and Recommendation of the Magistrate

  Judge (ECF No. 14) is APPROVED and ADOPTED as the Opinion of the Court.

          IT IS FURTHER ORDERED that Plaintiff is awarded three thousand, six hundred

  eighty-five dollars and fifty cents ($3,685.50) pursuant to the EAJA and that such shall be paid

  directly to Plaintiff.



  Dated: February 18, 2025                                      /s/ Paul L. Maloney
                                                               Paul L. Maloney
                                                               United States District Judge
